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                     TN THE UNITED STATES DISTRICT COT]RT
                         NORTHERN DISTRICT OF ILLINOIS
                                  CHICAGO


 VIVIANNALOPEZ

        Petitioner

 vs.                                               cRrM. NO.21-371


 T'NITED STATES Otr' AMERICA,                            FTLEfD
        Respondent                                              FEB 2 ?2024 fixh
                                                             THOMASG BRUTON
                                                         CLERK, U.S. DISTRICT COURT




                            UNDER THE FIRST STEP ACT


       NOW COMES, your Petitioner in the instant case, pro se, who respectfully files

for leave to file this Petition and Memorandum in Support of said Petition for relief,

pursuant to 18 U.S.C. $ 3582(c)(lXA), and the United States Sentencing Guidelines for

2023, and in support thereof, states as follows:




                          STATEMENT O[' JURISDICTION

       This United States District Court for the Northern District of Illinois has
jurisdiction over all offenses against the criminal laws of the United States which take

place in that district, under l8 U.S.C. Section 3231,21 U.S.C. Section at(aXlXb)(t)(A),

2l U.S.C. Section 846.
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                             PROCEDURAL HISTORY



        Petitioner was indictedin202l, and charged with and pled guilty to a violation of

MONEY LALINDERING - CONTROLLED SUBSTANCE - SELL/DISTR/DISP.

The Petitioner pleaded guilty to count one (1) of the indictment, and was committed to

the custody of the Federal Bureau of Prisons to be imprisoned for a total term of: forty-

two (42) months, and a supervised release period of three years. Petitioner did not file a

direct appeal, or any other motions directed to the verdict. Petitioner now files for relief

under the 2A23 United States Sentencing Guidelines, given retroactive effect, effective

February 1,2024.




                                STATEMENT OF FACTS

       Petitioner, who is 43 years old, is currently incarcerated at FCI Aliceville, and is

scheduled for release in September of 2026. Petitioner is a non-violent, offender, who

had no criminal justice points at the time that she committed the current offense. As a

result, Petitioner qualifies for relief under the 2023lJnited States Sentencing Guidelines,

as "Zero Points" offender.




                                                     CTIVE
   REDUCTIONS FOR INDIVIDUALS WHO HAD "ZERO POINTS" AT THE



    The Sentencing Commission promulgated Amendment 821, effective November l,
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2023, whereby the Commission eliminated status points for defendants with fewer than 7

criminal history points, and reduced the number of status points from 2 to I for

defendants with 7 or more criminal history points. U.S.S.G. $ aAl.l(e). This portion of

Amendment 821 applies retroactively, but a courl's reduction cannot take effect until

February 1,2024.

     In U.S.S.G. $ lBl.10, the Commission has articulated the proper procedure

for implementing retroactive amendments. Specifically, a defendant is eligible for

a sentence reduction if Amendment 821 lowers the defendant's previously calculated

guideline ftmge, and if the defendant did not previously receive a sentence at or below the

now-amended range.

     Even if a defendant is eligible, a district court has the discretion to deny a reduction

after considering the 18 U.S.C. $ 3553(a) sentencing factors. These zero-point offenders

include those with no prior convictions or those whose prior convictions do not

contribute to criminal history points. Essentially, this adjustment recognizes that not all

zero-point offenders are the same and allows judges to consider unique circumstances in

sentencing.

     It is uncontroverted that Petitioner had no criminal history points at the time of the

current offense, and thus is entitled to a reduction based upon that new Guideline change,

which is retroactive in application. www.ussc.gov.




      THE COURT HAS AUTHORITY UNDER THE FIRST STEP ACT TO
       RESENTENCE PETITIONER BASED UPON THE 3582 FA9TORS


  The First Step Act gives sentencing courts broad authority to impose reduced
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 sentences. see united states v. Sutton,2020wL34?s076,*l (7th cir. June23,

 2020)(*lTlhe only limits on the district court's authodty under the First Step Act come

 from the interpretation of the First Step Act itself."). A sentence reduction is warranted

 not only due to the circumstances set forth herein, but also because Petitioner has strived

 to improve throughout the lengthy custodial sentence.

       Petitioner also respectfully asks the Court to take into account the physical and

 psychological toll incarceration has taken on Petitioner and other prisoners in the federal

 system' Petitioner, although she has camp points, and no criminal justice points, was

transferred far from her family to an FCI, known for suicides, rampant use of drugs, and

inferior medical care. Petitioner has had to deal with suspension of many prison

programs, difficulty in accessing basic health care, lack of educational opportunities,

constant lockdowns, minimal family interaction, and other hardships. See: United States

v. Kibble, 992F. 3d 326,335 (4th Cir.202l) which argues that the sentencing factors

should be considered differently as a result of the pandemic.

        Where a statute places no restriction on the factors a court may consider in

imposing a reduced sentence, the court may consider all relevant
                                                                     $ 3553(a) factors,

including post-sentencing rehabilitation. See Pepper v. United States, 131 S. Ct. l}2g,

1243,1249 (201l); see also United State v. Shaw,2020 u.S. Ap. LEXIS l3s4g,*15 (7th

Cir-2020). Moreover, as the Court found in Pepper, there is no congressional policy to

prohibit courts' consideration of post sentencing rehabilitation in any context, including

at resentencing after reversal on appeal, or oore-sentencings that occur for
                                                                               [other] reasons.,,
Pepper, 131 S. Ct. at 1246.When the Court imposes a sentence, the Court is to consider

the factors laid out in 18 U.s.c. g 3553(a). Specifically, ..[t]he court shall impose a
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sentence sufficient, but not greater than necessary, to comply with the purposes set forth

in paragraph (2) of this subsection." 18 U.S.C. 3553(a). The Court: [S]hall consider. . .

(2) the need for the sentence imposed
                                        - (A) to reflect the seriousness of the offense, to
promote respect for the law, and to provide just punishment for the offense; (B) to afford

adequate deterrence to criminal conduct; (C) to protect the public from further crimes of

the defendant; and (D) to provide the defendant with needed educational or vocational

training, medical care, or other correctional treatment in the most effective manner; l8

U.S.c. $$ 3ss3(a)(r), (2).

      Additionally, in the case of concepcion v u.s., 20-1650, (June, 2022) the court

held, " The question in this case is whether a district court adjudicating a motion under

the First Step Act may consider other intervening changes of law (such as changes to the

Sentencing Guidelines) or changes of fact (such as behavior in prison) in adjudicating a

First Step Act motion. The Court holds that they may. "




                                     CONCLUSION



       As previously set forth, Petitioner is entitled to consideration for sentence relief

and Defendant/Petitioner respectfully moves this Honorable Court grant this Petition to

grant him relief pursuant to Amendment 821, and appoint counsel to represent Petitioner

in subsequent proceedings, and all other relief that this Honorable Court deems just.



                                                  Respectfully Submitted,

                                                  By: //,          *'- 7-r-_---.
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                                 PROOF OF SERVICE



        Petitioner, on oath, states that Petitioner caused to be mailed on February J s ,

2024, via U.S. mail through the prison mail system, a true and correct copy of this

Petition, to all parties entitled to notice herein.

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